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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 John Ferdinand Freitas,           )      CV 19-00228 JMS-RT
                                   )
             Plaintiff(s),         )
                                   )      Deficiency Order
       vs.                         )
                                   )                    FILED IN THE
                                                UNITED STATES DISTRICT COURT
 Hiromichi Kobayashi,              )                 DISTRICT OF HAWAII
                                   )                    May 1, 2019
           Defendant(s).           )
 ____________________________      )            At 4 o’clock and 00 min p.m.
                                                      SUE BEITIA, CLERK




                             DEFICIENCY ORDER

             Plaintiff, a prisoner proceeding pro se, has filed a

 Writ of Mandamus in this court that was not accompanied by a

 either a filing fee or an application to proceed in forma

 pauperis.    Parties instituting a civil action, suit or proceeding

 in a United States District Court, other than a writ of habeas

 corpus, must pay a filing fee of $350.00 and an administrative

 fee of $50.00.    See 28 U.S.C. § 1914(a) and District Court

 Miscellaneous Fee Schedule, ¶ 14 (effective December 1, 2013).

 This administrative fee does not apply to applications for writ

 of habeas corpus or to persons who are granted in forma pauperis

 status under 28 U.S.C. § 1915. An action may only proceed without

 concurrent payment of the filing fee if the party is granted

 leave to proceed in forma pauperis (“IFP”).          28 U.S.C. § 1915(a);

 Rodriguez v. Cook, 169 F.3d 1176, 1177 (9th Cir. 1999).
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            Plaintiff is advised that he or she must either pay the

 statutory filing fee of $350.00 and the administrative fee of

 $50.00, or submit a fully-completed in forma pauperis application

 within TWENTY EIGHT (28) days (including weekends and holidays)

 of this Order.    Failure to do so will result in AUTOMATIC

 DISMISSAL, of this action for failure to prosecute or otherwise

 follow a court order.     See Fed. R. Civ. P. 41(b); Olivares v.

 Marshall, 59 F.3d 109, 112 (9th Cir. 1995)(stating that the

 district court may     dismiss a complaint for failure to pay

 partial filing fee); In re Perroton, 958 F.2d 889, 890 (9th Cir.

 1992) (affirming dismissal of appeal of pro se litigant for

 failure to pay required filing fees).

            Plaintiff is NOTIFIED that, regardless of in forma

 pauperis status, as a prisoner he or she is required to pay the

 full filing fee: $400.00 if in forma pauperis status is denied,

 $350.00 if it is granted.      If in forma paperis status is granted,

 the court will order payments to be withdrawn from Plaintiff’s

 prison trust account when funds exceeding $10.00 are available.

 Plaintiff must complete the Court’s prisoner informa pauperis

 application form and include a certified copy of Plaintiff’s

 prison trust account activity for the 6-month period immediately

 preceding the filing of his or her Complaint.         28 U.S.C. § 1915

 (a) (1) and (2).
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       IT IS HEREBY ORDERED that:

 1.   The Clerk of Court is DIRECTED to send Plaintiff an

 appropriate copy of the Court’s Application to Proceed in forma

 pauperis with the accompanying information sheet.

 2.    Plaintiff is GRANTED twenty eight days to either pay the

 $400.00 filing fee or submit a completed and executed application

 to proceed in forma pauperis on the forms provided by the court

 with this Order.     The application must bear the docket number

 assigned to this case.      Failure to timely file an in forma

 pauperis application or the statutory filing fee within twenty

 eight days of the date of this Order will result in AUTOMATIC

 DISMISSAL of this action.

       IT IS SO ORDERED.

       DATED: May 1, 2019 at Honolulu, Hawaii,




                                     /s/ J. Michael Seabright
                                    J. MICHAEL SEABRIGHT
                                    CHIEF UNITED STATES DISTRICT JUDGE
